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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
IN RE: ZOFRAN® (ONDANSETRON) )
PRODUCTS LIABILITY LITIGATION )         MDL No. 1:15-md-2657-FDS
                                    )
This Document Relates To:           )
                                    )
      All Actions                   )
___________________________________ )

        PLAINTIFFS’ EMERGENCY MOTION TO EXTEND TIME FOR
       PLAINTIFFS’ RESPONSE IN OPPOSITION TO GSK’S RENEWED
       MOTION FOR SUMMARY JUDGMENT BASED ON PREEMPTION


       Plaintiffs, by and through their undersigned attorneys, respectfully move this Court

to enter an Order on an emergency basis permitting Plaintiffs 14 days after the entry of this

Court’s order related to Plaintiffs’ Motion to Strike Evidence from GSK’s Renewed

Motion for Summary Judgment for Plaintiffs to file a response in opposition to GSK’s

Renewed Motion. Currently, the deadline for Plaintiffs’ response in opposition to GSK’s

Renewed Motion is set for this Friday, October 11, 2019. Plaintiffs understand and respect

the Court’s busy docket and other obligations as well as the significance of Plaintiffs’

Motion to Strike on GSK’s dispositive motion. Given the importance of these issues,

Plaintiffs request that they be given 14 days following this Court’s order on Plaintiffs’

Motion to Strike to provide sufficient time for Plaintiffs to completely respond to GSK’s

Renewed Motion for Summary Judgment.

       As this Court recognized it the August 5, 2019 telephonic hearing, “This [Motion

to Strike] may be more complicated than most, and I certainly -- certainly the opposition

may be quite different depending on what's in evidence and what is not or what I'm properly

considering and what I'm not.” Tr. Hr’g at 13:22–25 (Aug. 15, 2019).
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       This Court also stated, “I'm going to tentatively require plaintiffs' response to be

due October 11th, and I might let that slide once I have a better view of what exactly is

involved here. I could put that off a week or two or even more, but now I'm going to set it

for October 11th for the filing of plaintiffs' response” Id. at 14:19–25.

       And again at the September 18, 2019 hearing, this Court stated “I recognize that

while this issue is hanging out there that you may not be quite sure what you are responding

to.” Tr. Hr’g at 70:21–22 (Sept. 18, 2019). Additionally, this Court stated “If you think,

for whatever reason, that doesn't give you enough time, whenever I've done that, you know,

I'll just take it up in due course….” Id. at 71:25–72:2.

       Accordingly, given the importance of Plaintiffs’ need to define the universe of

expert opinions and facts in order to properly respond to GSK’s 54-page MDL-dispositive

motion, Plaintiffs respectfully request that this Court enter an order providing Plaintiffs 14

days following this Court’s order on Plaintiffs’ Motion to Strike to provide sufficient time

for Plaintiffs to completely respond to GSK’s Renewed Motion for Summary Judgment.




                                                       Respectfully submitted,

                                                       /s/ Kimberly D. Barone Baden
                                                       Kimberly D. Barone Baden
                                                       MOTLEY RICE LLC
                                                       28 Bridgeside Boulevard
                                                       Mount Pleasant, SC 29464
                                                       843-216-9265
                                                       kbarone@motleyrice.com

                                                       Tobias L. Millrood
                                                       POGUST MILLROOD LLC
                                                       8 Tower Bridge, Suite 940
                                                       Conshohocken, PA 19428
                                                       610-941-4204
                                                       tmillrood@pogustmillrood.com

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                                        Robert K. Jenner (BBO No. 569381)
                                        JENNER LAW, P.C.
                                        1829 Reisterstown Road, Suite 350
                                        Baltimore, MD 21208
                                        410-413-2155
                                        rjenner@jennerlawfirm.com

                                        M. Elizabeth Graham
                                        GRANT & EISENHOFER P.A.
                                        123 S. Justison Street
                                        Wilmington, DE 19801
                                        302-622-7099
                                        egraham@gelaw.com

                                        James D. Gotz
                                        HAUSFELD
                                        One Marina Park Drive, Suite 1410
                                        Boston, MA 02210
                                        617-207-0600
                                        jgotz@hausfeld.com

Dated: October 7, 2019                  Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I, Kimberly D. Barone Baden, hereby certify that on this 7th day of October, 2019, I

electronically filed the foregoing with the Court using the CM/ECF system and thereby delivered

by electronic means to all registered participants as identified on the Notice of Electronic Filing:


                                              /s/ Kimberly D. Barone Baden
                                              Kimberly D. Barone Baden
